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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE



United States of America

      v.                             Case No. 04-cr-126-01/06-PB

 Robert Gagalis, et al.



                                     ORDER

      Re: Document No. 126 , Motion to Exclude

     Ruling: Motion denied without prejudice to defendants’ right
to renew when the evidence is offered. The government shall not
refer to the sales in its opening statement and shall notify the
defendants before it attempts to offer evidence concerning the
sales.


                                             /s/ Paul Barbadoro
                                             Paul Barbadoro
                                             U.S. District Judge

Date:      February 13, 2006

cc:   Counsel of Record
